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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_____________________________________

UNITED STATES OF AMERICA,

                    Plaintiff,

                    v.                                   06-CR-284S

JOSE LAO,

                Defendant.
_____________________________________


                    REPORT, RECOMMENDATION AND ORDER

             This case was referred to the undersigned by the Hon. William M. Skretny

in accordance with 28 U.S.C. § 636(b)(1) for all pretrial matters and hear and report

upon dispositive motions.



                             PRELIMINARY STATEMENT

             The defendant, Jose Lao, (“the defendant”) is charged in a Superseding

Indictment with having violated Title 21 U.S.C. §§ 846 (Count 1). (Docket #128). There

are nine other co-defendants similarly charged, some of whom are also charged with

having violated Title 21 U.S.C. §§ 841(A)(1) and 841(b)(1)(B) and Title 18 U.S.C. § 2.

(Docket #128).



             The defendant has filed a motion to suppress the use of evidence at trial

that was obtained from the use of wire intercept orders issued by the Hon. William M.

Skretny on October 25, November 23 and December 8, 2005 claiming that “there was
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no probable cause to issue eavesdropping warrants” and there was a lacking of

“necessity” to warrant the use of wire interceptions. The defendant also argues that

“the interception of electronic communications were not minimized and particularized to

comply with the requirements of federal law governing the interception of electronic

communications.” (Docket #136, ¶¶ 57-67).



      The government has filed a response in opposition to the defendant’s motion.

(Docket #155).



      Each of the defendant’s claims will be separately addressed herein.



                             DISCUSSION AND ANALYSIS

      The facts set forth in this Court’s Report, Recommendation and Order dated

April 28, 2008 (Docket #198) are hereby incorporated by reference since the defendant

participated in the evidentiary hearing upon which these facts are based and there is no

need to restate them herein for purposes of addressing the defendant’s motion to

suppress evidence.



             (1)     The Probable Cause Issue.

             As the Second Circuit Court of Appeals has stated, “the standard for

probable cause applicable to [18 U.S.C.] § 2518 is ‘the same as the standard for a

regular search warrant. Under Illinois v. Gates, 462 U.S. 213, 103 S.Ct. 2317, 76

L.Ed.2d 527 (1983), probable cause for a search warrant is established if the totality-of-

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the-circumstances’ indicate a probability of criminal activity. See id. at 230-32, 103

S.Ct. 2317.” United States v. Diaz, 176 F.3d 52, 110 (2d Cir.) cert. denied by Rivera v.

United States, 528 U.S. 875 (1999).



              Basically, the defendant is requesting that a review of Judge Skretny’s

decision in issuing the Intercept Orders of October 25, November 23 and December 8,

2005 be made so as to conclude that such orders were improperly issued. The role of

this Court in conducting such a review is no different than that conducted by a court of

appeals and therefore, the admonition of the Second Circuit Court of Appeals is

appropriately applied in this process wherein the Court stated:

              “In reviewing a ruling on a motion to suppress wiretap
              evidence, we accord deference to the district court.” Miller,
              116 F.3d at 663 (quoting Torres, 901 F.2d at 231). Our role
              in reviewing the issuance of a wiretap order is not to make a
              de novo determination of the sufficiency of the applications,
              “but to decide if the facts set forth in the application were
              minimally adequate to support the determination that was
              made.” Id.

United States v. Diaz, 176 F.3d 52, 109 (2d Cir.), cert. denied by Rivera v. United

States, 528 U.S. 875 (1999).



              The defendant merely sets forth a conclusory claim that the contents of

the affidavit of S.A. Yervelli, sworn to October 25, 2005, fails to put forth anything of

substance to support a finding of probable cause for the issuance of the order of

October 25, 2005. He does the same with respect to the use of confidential informants

as a basis for establishing probable cause by merely asserting that they “were

inherently unreliable and suspect.” (Docket #136, ¶¶ 57-59). He offers nothing further

on the issue of probable cause as to the intercept orders of November 23 and

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December 8, 2005.



              As the Court of Appeals for the Second Circuit stated:

              A plaintiff who argues that a warrant was issued on less than
              probable cause faces a heavy burden.               “Where [the]
              circumstances are detailed, where reason for crediting the
              source of the information is given, and when a magistrate has
              found probable cause, the courts should not invalidate the
              warrant by interpreting the affidavit in a hypertechnical, rather
              than a commonsense, manner. . . . [T]he resolution of doubtful
              or marginal cases in this area should be largely determined by
              the preference to be accorded to warrants.” United States v.
              Ventresca, 380 U.S. 102, 109, 85 S.Ct. 741, 746, 13 L.Ed.2d
              684 (1965). In particular, where the officer requesting the
              search warrant relies on an informant, the magistrate’s role is
              to examine the totality of the circumstances and to
                       make a practical, commonsense decision
                       whether, given all the circumstances set forth in
                       the affidavit before him, including the “veracity”
                       and “basis of knowledge” of persons supplying
                       hearsay information, there is a fair probability
                       that contraband or evidence of a crime will be
                       found in a particular place. And the duty of a
                       reviewing court is simply to ensure that the
                       magistrate had a “substantial basis for . . .
                       conclud[ing]” that probable cause existed.
              Illinois v. Gates, 462 U.S. 213, 238-39, 103 S.Ct. 2317, 2332,
              76 L.Ed.2d 527 (1983) (quoting Jones v. United States, 362
              U.S. 257, 271, 80 S.Ct. 725, 736, 4 L.Ed.2d 697 (1960)); see
              United States v. Feliz-Cordero, 859 F.2d 250, 252-53 (2d Cir.
              1988).

Rivera v. United States, 928 F.2d 592, 602 (2d Cir. 1991).



              The defendant has failed to meet his burden in this regard. The ninety-

five (95) typewritten page affidavit of S.A. Yervelli sworn to October 25, 2005 sets forth

in great detail, the circumstances of the investigation as well as the information

obtained to date from confidential sources, authorized state intercept orders and

physical surveillance. As a result, it is hereby RECOMMENDED that defendant’s

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motion to suppress the evidence obtained by use of the intercept orders of October 25,

November 23 and December 8, 2005 be DENIED.



      (2)    The Necessity Issue.

             The defendant argues that the conclusory statements and the necessity

aspect of the applications were insufficient to allow the agents to utilize eavesdropping

in this instance and therefore, the evidence obtained by use of such intercept orders

should be suppressed. (Docket #136, ¶ 64).



             The eavesdropping application and supporting affidavit of S.A. Yervelli of

October 25, 2005 did contain a detailed factual explanation of the traditional

investigative techniques that were used, including “the use of confidential sources,

controlled evidence purchases of illegal drugs, the attempted introduction of an

undercover officer, search warrants, pen registers, review of telephone toll records,

interviews and physical surveillance.” (Emphasis added) (Government Exhibit 1, p.

77). A detailed description was also given of those investigative techniques

“considered, but not deemed likely to succeed” and the reasons for such belief.

(Government Exhibit 1, pp. 77-92).



             There is no requirement that all traditional law enforcement investigative

techniques be exhausted prior to applying for a wire interception order. United States v.

Diaz, 176 F.3d 52, 111 (2d Cir.) cert. denied by Rivera v. United States, 528 U.S. 875

(1999). Nor is there any requirement “that any particular investigative procedures

[must] be exhausted before a wiretap may be authorized.” United States v. Miller, 116


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F.3d 641, 663 (2d Cir. 1997), cert. denied, 524 U.S. 905 (1998); United States v.

Young, 882 F.2d 1234, 1237 (2d Cir. 1987).



              Since the holding in United States v. Torres, 901 F.2d 205 (2d Cir.), cert.

denied 498 U.S. 906 (1990), addresses the issues raised by the defendant herein on

the issue of whether 18 U.S.C. § 2518(1)(c) was complied with, it is worthwhile to

sacrifice brevity and set forth that Court’s ruling in detail.

              Section 2518(1)(c) requires that an application for such an
              interception shall include “a full and complete statement as
              to whether or not other investigative procedures have been
              tried and failed or why they reasonably appear to be unlikely
              to succeed if tried or to be too dangerous. . . .” Similarly,
              section 2518(3)(c) requires the judge to whom an application
              for a wiretap is made to determine, as a condition of
              authorizing the tap, that “normal investigative procedures
              have been tried and have failed or reasonably appear to be
              unlikely to succeed if tried or to be too dangerous. . . .”

              The application for the wiretap in this case was based upon
              a thirty-six page affidavit by DEA agent Timothy J. Sullivan
              dated May 27, 1987. Flores contends that when the
              application for a wiretap was made, traditional law
              enforcement methods had already achieved “extraordinary
              success . . . in penetrating the deepest reaches of the
              Torres Organization,” and that the “affidavit utterly failed to
              establish, even on a superficial level, that less intrusive
              techniques had not been successful and could not be
              successful.” In advancing this position, Flores points out
              that our decision in United States v. Lilla, 699 F.2d 99 (2d
              Cir. 1983), precludes the authorization of wiretaps based
              upon “generalized and conclusory statements that other
              investigative procedures would prove unsuccessful,” id. at
              104. Flores also argues that it does not suffice to show that
              a case belongs to some general class of cases which
              require wiretap investigation, citing United States v.
              Kalustian, 529 F.2d 585, 589 (9th Cir. 1975) (gambling case).

              We are unpersuaded, and conclude that the application in
              this case provided a sufficient basis for authorizing the
              Flores wiretap. Section 2518 “is simply designed to assure
              that wiretapping is not resorted to in situations where

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      traditional investigative techniques would suffice to expose
      the crime.” United States v. Kahn, 415 U.S. 143, 153 n. 12,
      94 S.Ct. 977, 983 n. 12, 39 L.Ed.2d 225 (1974). As we have
      stated:

             “[T]he purpose of the statutory requirements is
             not to preclude resort to electronic surveillance
             until after all other possible means of
             investigation have been exhausted by
             investigative agents; rather, they only require
             that the agents inform the authorizing judicial
             officer of the nature and progress of the
             investigation and of the difficulties inherent in
             the use of normal law enforcement methods.”

      United States v. Vazquez, 605 F.2d 1269, 1282 (2d Cir.
      1979) (quoting United States v. Hinton, 543 F.2d 1002, 1011
      (2d Cir.), cert. denied, 429 U.S. 980, 97 S.Ct. 493, 50
      L.Ed.2d 589 (1976)), cert. denied, 444 U.S. 981, 100 S.Ct.
      484, 62 L.Ed.2d 408 (1979), 1019, 100 S.Ct. 674, 62
      L.Ed.2d 649 (1980); see also United States v. Fury, 554
      F.2d 522, 530 (2d Cir), cert. denied, 433 U.S. 910, 97 S.Ct.
      2978, 53 L.Ed.2d 1095 (1977).

      The role of an appeals court in reviewing the issuance of a
      wiretap order, furthermore, “is not to make a de novo
      determination of sufficiency as if it were a district judge, but
      to decide if the facts set forth in the application were
      minimally adequate to support the determination that was
      made.” United States v. Scibelli, 549 F.2d 222, 226 (1st Cir.)
      (collecting cases), cert. denied, 431 U.S. 960, 97 S.Ct. 2687,
      53 L.Ed.2d 278 (1977). And, as the Scibelli court went on to
      say:

             [I]n determining the sufficiency of the
             application a reviewing court must test it in a
             practical and common sense manner. The
             legislative history makes clear that section
             2518(1)(c) is not designed to force the
             Government to have exhausted all “other
             investigative procedures”.

                    “The judgment [of the district
                    judge] would involve a
                    consideration of all the facts and
                    circumstances. Normal
                    investigative procedure would
                    include, for example, standard

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                           visual or aural surveillance
                           techniques by law enforcement
                           officers, general questioning or
                           interrogation under an immunity
                           grant, use of regular search
                           warrants, and the infiltration of
                           conspiratorial groups by
                           undercover agents or informants.
                           Merely because a normal
                           investigative technique is
                           theoretically possible, it does not
                           follow that it is likely. What the
                           provision envisions is that the
                           showing be tested in a practical
                           and commonsense fashion.

                    S.Rep. No. 1097, 90th Cong., 2d Sess., 1968
                    U.S.Code Cong. & Admin.News, p. 2190
                    (citations omitted).

             Scibelli, 549 F.2d at 226.

Id. at 231-232) (brackets included); See also United States v. Diaz, 176 F.3d 52, 111
(2d Cir.), cert. denied by Rivera v. United States, 528 U.S. 875 (1999).



             Giving proper deference to Judge Skretny’s review and acceptance of the

ninety-five (95) page affidavit of Special Agent Yervelli sworn to October 25, 2005 in

support of the application for the Intercept Orders and his decision to grant said

applications and issue the orders in question, it is concluded that Judge Skretny

“properly found that conventional investigative techniques had been exhausted and that

alternatives to wire interception would be unlikely to succeed or would be too

dangerous.” Id. at 111. Therefore, it is RECOMMENDED that defendant’s motion to

suppress based on this claim be DENIED.




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       (3)    The “Minimization” Issue.

              18 U.S.C. § 2518(5) provides that the “authorization to intercept . . . shall

be conducted in such a way as to minimize the interception of communications not

otherwise subject to interception under this chapter . . ..”



              Defendant’s counsel merely speculates that the “minimization”

requirements of the statute may not have been complied with. (Docket #136, ¶ 63). As

a result, his argument is rejected at this point in time. Nevertheless, for purposes of

judicial economy, the holding of the United States Supreme Court on this issue is

beneficial and is therefore, set forth herein.



              In addressing this complex concept of “minimization,” the United States

Supreme Court has held that:

              The statute does not forbid the interception of all
              nonrelevant conversations, but rather instructs the agents to
              conduct the surveillance in such a manner as to “minimize”
              the interception of such conversations. Whether the agents
              have in fact conducted the wiretap in such a manner will
              depend on the facts and circumstances of each case.

              We agree with the Court of Appeals that blind reliance on
              the percentage of nonpertinent calls intercepted is not a sure
              guide to the correct answer. Such percentages may provide
              assistance, but there are surely cases, such as the one at
              bar, where the percentage of nonpertinent calls is relatively
              high and yet their interception was still reasonable. The
              reasons for this may be many. Many of the nonpertinent
              calls may have been very short. Others may have been
              one-time only calls. Still other calls may have been
              ambiguous in nature or apparently involved guarded or
              coded language. In all these circumstances agents can
              hardly be expected to know that the calls are not pertinent
              prior to their termination.

              In determining whether the agents properly minimized, it is

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              also important to consider the circumstances of the wiretap.
              For example, when the investigation is focusing on what is
              thought to be a widespread conspiracy more extensive
              surveillance may be justified in an attempt to determine the
              precise scope of the enterprise. And it is possible that many
              more of the conversations will be permissibly interceptable
              because they will involve one or more of the co-conspirators.
              ...

              Other factors may also play a significant part in a particular
              case. For example, it may be important to determine at
              exactly what point during the authorized period the
              interception was made. During the early stages of
              surveillance the agents may be forced to intercept all calls to
              establish categories of nonpertinent calls which will not be
              intercepted thereafter. Interception of those same types of
              calls might be unreasonable later on, however, once the
              nonpertinent categories have been established and it is
              clear that this particular conversation is of that type. Other
              situations may arise where patterns of nonpertinent calls do
              not appear. In these circumstances it may not be
              unreasonable to intercept almost every short conversation
              because the determination of relevancy cannot be made
              before the call is completed.

Scott v. United States, 436 U.S. 128, 140-141 (1978); see also United States v.
Principe, 531 F.2d 1132, 1140 (2d Cir.), cert. denied 430 U.S. 905 (1976).

              It is therefore RECOMMENDED that defendant’s motion to suppress the

evidence on this issue be DENIED.



              Therefore, it is hereby ORDERED pursuant to 28 U.S.C. § 636(b)(1) that:



              This Report, Recommendation and Order be filed with the Clerk of the

Court.



              ANY OBJECTIONS to this Report, Recommendation and Order must be

filed with the Clerk of this Court within ten (10) days after receipt of a copy of this


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 Report, Recommendation and Order in accordance with the above statute, Fed. R.

 Crim. P. 58(g)(2) and Local Rule 58.2.



               The district judge will ordinarily refuse to consider de novo, arguments,

 case law and/or evidentiary material which could have been, but were not presented to

 the magistrate judge in the first instance. See, e.g., Patterson-Leitch Co., Inc. v.

 Massachusetts Municipal Wholesale Electric Co., 840 F.2d 985 (1st Cir. 1988). Failure

 to file objections within the specified time or to request an extension of such time

 waives the right to appeal the District Judge's Order. Thomas v. Arn, 474 U.S. 140

 (1985); Wesolek, et al. v. Canadair Ltd., et al., 838 F.2d 55 (2d Cir. 1988).



              The parties are reminded that, pursuant to Rule 58.2 of the Local Rules for

the Western District of New York, "written objections shall specifically identify the

portions of the proposed findings and recommendations to which objection is made and

the basis for such objection and shall be supported by legal authority." Failure to

comply with the provisions of Rule 58.2, or with the similar provisions of Rule 58.2

(concerning objections to a Magistrate Judge's Report, Recommendation and

Order), may result in the District Judge's refusal to consider the objection.




                                          S/ H. Kenneth Schroeder, Jr.
                                          H. KENNETH SCHROEDER, JR.
                                          United States Magistrate Judge


 DATED:         Buffalo, New York
                June 3, 2008



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